         Case 1:21-cr-00040-TNM Document 320 Filed 06/03/22 Page 1 of 5



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                v.                                                  Case No.: 21-cr-40-1 (TNM)

 PATRICK MCCAUGHEY,

                                Defendant.


            MOTION IN LIMINE TO PRECLUDE CLAIM OF SELF-DEFENSE


       The United States of America respectfully moves in limine to preclude the defendant from

raising a claim of self-defense. The available facts, as a matter of law, do not support a claim of

self-defense because they show that the defendant was the initial aggressor, attacking a police line

that had only been established because the police had been forced to fall back due to the actions of

the mob. In the alternative, the government requests that the defendant provide a pre-trial proffer

of facts to allow the parties to argue, and the Court to decide, whether the defendant is entitled as

a matter of law to assert self-defense.

                                          INTRODUCTION

       Defendant McCaughey is charged with three counts of assaulting, resisting, or impeding a

federal officer. In Count 14 of the indictment, McCaughey is charged with assaulting, resisting, or

impeding a federal officer and aiding and abetting, in violation of 18 U.S.C. § 111(a)(1) and 2. In

Counts 24 and 25 of the indictment, McCaughey is charged with assaulting, resisting, or impeding

a federal officer with a deadly or dangerous weapon, that is, a shield, in violation of 18 U.S.C.

§ 111(a)(1) and (b).

       To meet its burden of proof at trial, the government will seek to admit video evidence

showing the defendant committing three separate instances of assaultive conduct, when he joined
         Case 1:21-cr-00040-TNM Document 320 Filed 06/03/22 Page 2 of 5



the mob in overwhelming law enforcement on the West Front of the U.S. Capitol and forced their

way into the “tunnel” created by the structures present on the Lower West Terrace. Specifically,

at approximately 2:49 p.m., McCaughey joined other rioters in the tunnel, appearing to follow the

commands of his co-defendant Tristan Stevens, in throwing his body on the backs of other rioters,

pushing in a concerted effort against the police line guarding the entrance to the Capitol building.

(Count 14). McCaughey then made his way to the front of the line of rioters and began pushing

against the police line with a stolen riot shield, crushing Metropolitan Police Department Officer

Daniel Hodges in the door. (Count 24). While McCaughey was pushing against Officer Hodges,

the officer attempted to repel McCaughey with his police baton. As he forcefully pushed Officer

Hodges with the shield, McCaughey verbally engaged Hodges, making comments such as, “come

on man, you are going to get squished just go home,” “don’t try and use that stick on me boy,” and

“just go home.” While he was being assaulted by McCaughey, Officer Hodges screamed as

McCaughey pinned the officer’s body between a stolen riot shield and the lower west terrace door.

This attack was caught on video by journalist Jon Farina, and was posted to YouTube.




       After Officer Hodges extricated himself from the doorframe, McCaughey continued his

efforts to break through the police line. McCaughey repeatedly struck multiple officers with the

stolen riot shield, including Metropolitan Police Department Officer Henry Foulds who moved


                                                 2
         Case 1:21-cr-00040-TNM Document 320 Filed 06/03/22 Page 3 of 5



toward the front of the police line after Officer Hodges moved to safety. (Count 25). No other

rioters were pressed up against McCaughey as he repeatedly and forcefully began striking Officer

Foulds with the shield while yelling “get out of our house.” This encounter is caught on the body

worn camera of another officer, as well as in the above-mentioned video by journalist Jon Farina.




       This evidence shows that the defendant attacked each officer without provocation.

                                         ARGUMENT

       Section 111 makes it a crime to “forcibly assault[], resist[], oppose[], impede[],

intimidate[], or interfere[] with” a federal officer in the performance of the officer’s duties. 18

U.S.C. § 111(a)(1). A defendant charged under Section 111 may assert, as an affirmative defense,

a theory of self-defense, “which justifies the use of a reasonable amount of force against an

adversary when a person reasonably believes that he is in immediate danger of unlawful bodily

harm from his adversary and that the use of such force is necessary to avoid this danger.” United

States v. Middleton, 690 F.2d 820, 826 (11th Cir. 1982).


                                                3
         Case 1:21-cr-00040-TNM Document 320 Filed 06/03/22 Page 4 of 5



        “A defendant cannot claim self-defense if he was the aggressor or if he provoked the

conflict upon himself.” Waters v. Lockett, 896 F.3d 559, 569 (D.C. Cir. 2018) (internal quotation

marks and citation omitted). That principle applies fully to Section 111 prosecutions. See, e.g.,

United States v. Mumuni Saleh, 946 F.3d 97, 110 (2d Cir. 2019) (“Mumuni was the initial

aggressor in the altercation with Agent Coughlin; as such, he could not, as a matter of law, have

been acting in self-defense.”); United States v. Acosta-Sierra, 690 F.3d 1111, 1126 (9th Cir. 2012)

(“[A]n individual who is the attacker cannot make out a claim of self-defense as a justification for

an assault.”).

        The proffered video evidence demonstrates that the defendant was the initial aggressor in

each of the charged assaults this case. Neither Officer Hodges nor Officer Foulds applied force to

the defendant at any point before these assaults. Indeed, the video evidence shows that Hodges

made only incidental and non-forceable contact with McCaughey while attempting to use his baton

to fend him off. Officer Foulds never made contact with the defendant. Any contact made by

officers attempting to push back the crowd were incidental contacts with the defendant when trying

to keep order. Crowd control measures, like use of OC spray, batons and shields, were not

provocation, but defensive responses to stop the mob from entering the U.S Capitol building. It

was the defendant who initiated a violent physical attack by using the stolen riot shield to attack

the officers. He therefore cannot, as a matter of law, seek acquittal on the Section 111 charge by

asserting self-defense.

        Other circumstances depicted in the videos do not bear on the elements of self-defense.

Defendant may have objected to law enforcement’s presence at the U.S. Capitol, their effort to

detain other individuals at the scene, or their directives that he move from his position and leave

the area. None of that matters. See United States v. Urena, 659 F.3d 903, 907 (9th Cir. 2011)

(observing that “harsh words from another, insulting words, demeaning words, or even fighting


                                                 4
         Case 1:21-cr-00040-TNM Document 320 Filed 06/03/22 Page 5 of 5



words” does not provide license to “stab the offending speaker in the neck, bash their skull with a

baseball bat, send a bullet to their heart, or otherwise deploy deadly force in response to the

insult”). Because the defendant “was the attacker” in this case, ibid., he cannot advance a self-

defense theory.

                                          CONCLUSION

       For these reasons, the United States respectfully moves the Court to preclude the defendant

from raising a claim of self-defense or, in the alternative, require the defendant to make a pre-trial

proffer of facts that would permit the Court to decide whether he is entitled as a matter of law to

assert self-defense.

       Dated June 3, 2022.


                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               UNITED STATES ATTORNEY
                                               D.C. Bar No. 481052

                                               BY:     /s/
                                               KIMBERLY L. PASCHALL
                                               Assistant United States Attorney
                                               Capitol Siege Section
                                               D.C. Bar No. 1015665
                                               601 D Street, N.W.,
                                               Washington, D.C. 20530
                                               202-252-2650
                                               Kimberly.Paschall@usdoj.gov




                                                  5
